
348 S.W.3d 865 (2011)
D.F.; R.E.H., Respondent,
v.
D.M.P., Appellant.
Nos. WD 73599, WD 73600.
Missouri Court of Appeals, Western District.
September 27, 2011.
David M. Paine, Riverside, MO, pro se.
Deborah Fones, Riverside, MO, pro se.
Richard E. Hamm, Riverside, MO, pro se.
Before: VICTOR C. HOWARD, P.J., and ALOK AHUJA and KAREN KING MITCHELL, JJ.

ORDER
PER CURIAM:
D.M.P. appeals two judgments issued by the Circuit Court of Platte County, entering full orders of protection in proceedings brought by petitioners R.E.H. and D.F. pursuant to the Adult Abuse Act, §§ 455.005 through 455.090, RSMo. D.M.P. contends that the judgments as to each petitioner are not supported by substantial evidence. We affirm. Because a published opinion would have no precedential value, an unpublished memorandum setting forth the reasons for this order has been provided to the parties. Rule 84.16(b).
